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IN THE UNITED STATES DISTRICT COURT

FoR THE wESTERN DISTRICT oF TENNESSEE 05 JUL l l PH 3: I.'a

 

WESTERN DIVISION
M. GGJLD
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) W OF lle, M&MPHS
)
BRENDA K. HICKS )
)
Plaintiff, )
)

Vs. ) Civil Action No: 04-2949-DV

)
FEDERAL EXPRESS )
Defendant. )

 

ORDER GRANTING DEFENDANT FEDERAL EXPRESS
CORPORATION’S MOTION TO AMEND ANSWER AND DEFENSES TO
AMENDED COMPLAINT

WHEREAS Defendant, Federal Express Corporation (“FedEx”), has filed a
Motion to Amend Answer and Defenses to Amended Cornplaint, this Court grants
Defendant’s motion.

WHEREFORE, Defendant’s motion is hereby GRANTED. Defendant shall
have ten (10) days from the date of this Order within which to file its Amended Answer
and Defenses to Amended Complaint as attached to Defendant’s Motion to Amend

Answer and Det`enses to Amended Complaint.

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United States District Judge

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-02949 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

